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                                                                      Exhibit B
                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF TEXAS
                          HOUSTON DIVISION

      COUVILLION GROUP, LLC.,
                        Plaintiff,

         v.
      WHITE MARLIN OPERATING
      COMPANY LLC; AGUA                       Civil Action No. 4:22:cv-00908
      TRANQUILLO MIDSTREAM
      LLC; TALCO PETROLEUM
      LLC; TORRENT OIL, LLC; &
      NIGEL SOLIDA,

                        Defendants.


    DEFENDANTS’ OBJECTIONS AND RESPONSES TO PLAINTIFF
   COUVILLION GROUP, LLC’S FIRST REQUESTS FOR PRODUCTION

TO:    Couvillion Group, LLC, by and through its attorneys of record, Patrick
       McShante, Danica Denny, Kathleen Rice, and Daniel Schwank, 1100 Poydras
       Street, Suite 3700, New Orleans LA 70163.

       Pursuant to the Federal Rules of Civil Procedure, Defendants White Marlin

Operating Company, LLC, Agua Tranquillo Midstream LLC, and Talco Petroleum,

LLC (collectively, “Defendants”) serve these objections and responses to Plaintiff’s

First Requests for Production.
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                                       Respectfully submitted,

                                       JORDAN, LYNCH & CANCIENNE PLLC

                                       By: /s/ Joseph W. Golinkin II
                                          Michael Cancienne
                                          State Bar No. 24055256
                                          Joseph W. (“Jeb”) Golinkin II
                                          State Bar No. 24087596
                                          1980 Post Oak Blvd., Ste. 2300
                                          Houston, Texas 77056
                                          713.955.4028
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                                          mcancienne@jlcfirm.com
                                          jgolinkin@jlcfirm.com

                                      ATTORNEYS FOR DEFENDANTS


                          CERTIFICATE OF SERVICE

             I certify that on the 20th day of November, 2023, a true and correct copy
of the above and foregoing has been served upon all counsel of record via electronic
mail.

                                              /s/ Jeb Golinkin
                                              Joseph W. Golinkin II




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                        REQUESTS FOR PRODUCTION

REQUEST FOR PRODUCTION NO. 1:

All documents and communications referred to or relied on when answering
Couvillion’s First Set of Interrogatories.

RESPONSE: Defendants object to this Request to the extent it calls for the
production of privileged documents. Subject to the foregoing, Defendants will perform
a reasonable search for and produce documents they identify as responsive to this
Request.

REQUEST FOR PRODUCTION NO. 2:

Any chart depicting the corporate relationship between You, Agua, Talco, and Torrent
Oil, LLC (“Torrent”) which was generated or maintained in the past five years.

RESPONSE: Defendants will perform a reasonable search for and produce any
documents it identifies as responsive to this Request, if any.

REQUEST FOR PRODUCTION NO. 3:

      A copy of the following documents for White Marlin, Agua, Talco, and Torrent:

      (1) The Articles of Incorporation, and any amendments thereto;
      (2) The Bylaws, and any amendments thereto;
      (3) The Certificate of Incorporation from the Secretary of State evidencing each
          entities’ corporate existence;
      (4) The Notice of Incorporation as it appeared when first published;
      (5) Copies of the minutes from all meetings of members during the past five
          years; and
      (6) Copies of the minutes from all meetings of the Board of Directors during
          the past five years.

RESPONSE: Defendants object to this Request because it seeks documents that are
not relevant to Couvillion’s claims or defenses, and because the request is not
proportional to the needs of the case. Defendants further object to this Request
because it is overly broad and unduly burdensome, and because it is not reasonably
calculated to lead to the discovery of admissible evidence. Defendants are willing to
meet and confer about this Request.




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REQUEST FOR PRODUCTION NO. 4:

A copy of all of White Marlin’s financial statements, whether audited or unaudited,
and all monthly profit and loss statements, from the past five years.

RESPONSE: Defendants object to this Request because it seeks documents that are
not relevant to Couvillion’s claims or defenses, and because the request is not
proportional to the needs of the case. Defendants further object to this Request
because it is overly broad and unduly burdensome, and because it is not reasonably
calculated to lead to the discovery of admissible evidence. Defendants are willing to
meet and confer about this Request.

REQUEST FOR PRODUCTION NO. 5:

A copy of all of Agua’s financial statements, whether audited or unaudited, and all
monthly profit and loss statements, from the past five years.

RESPONSE: Defendants object to this Request because it seeks documents that are
not relevant to Couvillion’s claims or defenses, and because the request is not
proportional to the needs of the case. Defendants further object to this Request
because it is overly broad and unduly burdensome, and because it is not reasonably
calculated to lead to the discovery of admissible evidence. Defendants are willing to
meet and confer about this Request.

REQUEST FOR PRODUCTION NO. 6:

A copy of all of Talco’s financial statements, whether audited or unaudited, and all
monthly profit and loss statements, from the past five years.

RESPONSE: Defendants object to this Request because it seeks documents that are
not relevant to Couvillion’s claims or defenses, and because the request is not
proportional to the needs of the case. Defendants further object to this Request
because it is overly broad and unduly burdensome, and because it is not reasonably
calculated to lead to the discovery of admissible evidence. Defendants are willing to
meet and confer about this Request.

REQUEST FOR PRODUCTION NO. 7:

A copy of all of Torrent’s financial statements, whether audited or unaudited, and all
monthly profit and loss statements, from the past five years.

RESPONSE: Defendants object to this Request because it seeks documents that are
not relevant to Couvillion’s claims or defenses, and because the request is not
proportional to the needs of the case. Defendants further object to this Request



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because it is overly broad and unduly burdensome, and because it is not reasonably
calculated to lead to the discovery of admissible evidence. Defendants are willing to
meet and confer about this Request.

REQUEST FOR PRODUCTION NO. 8:

For each bank account maintained by White Marlin, a copy of the monthly statement
for the period beginning on January 1, 2019 until the present day, including the
specific transaction number, date, amount of transaction, and transaction description
for any transfer of funds between a bank account maintained by White Marlin, Agua,
Talco, Torrent, and Nigel Solida.

RESPONSE: Defendants object to this Request because it seeks documents that are
not relevant to Couvillion’s claims or defenses, and because the request is not
proportional to the needs of the case. Defendants further object to this Request
because it is overly broad and unduly burdensome, and because it is not reasonably
calculated to lead to the discovery of admissible evidence. Defendants are willing to
meet and confer about this Request.

REQUEST FOR PRODUCTION NO. 9:

A copy of all documents which relate to any transfer of assets between White Marlin
and Agua, Talco, Torrent, and/or Nigel Solida, between January 1, 2019 and the
present day.

RESPONSE: Defendants object to this Request because it seeks documents that are
not relevant to Couvillion’s claims or defenses, and because the request is not
proportional to the needs of the case. Defendants further object to this Request
because it is overly broad and unduly burdensome, and because it is not reasonably
calculated to lead to the discovery of admissible evidence. Defendants are willing to
meet and confer about this Request.

REQUEST FOR PRODUCTION NO. 10:

A copy of any and all corporate records or ledgers evidencing the identity and address
of each person or entity that has or had an ownership interest in White Marlin during
the past five years.

RESPONSE: Defendants object to this Request because it seeks documents that are
not relevant to Couvillion’s claims or defenses, and because the request is not
proportional to the needs of the case. Defendants further object to this Request
because it is overly broad and unduly burdensome, and because it is not reasonably
calculated to lead to the discovery of admissible evidence. Defendants are willing to
meet and confer about this Request.



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REQUEST FOR PRODUCTION NO. 11:

A copy of any and all corporate records or ledgers evidencing the identity and address
of each person or entity that has or had an ownership interest in Agua during the
past five years.

RESPONSE: Defendants object to this Request because it seeks documents that are
not relevant to Couvillion’s claims or defenses, and because the request is not
proportional to the needs of the case. Defendants further object to this Request
because it is overly broad and unduly burdensome, and because it is not reasonably
calculated to lead to the discovery of admissible evidence. Defendants are willing to
meet and confer about this Request.

REQUEST FOR PRODUCTION NO. 12:

A copy of any and all corporate records or ledgers evidencing the identity and address
of each person or entity that has or had an ownership interest in Talco during the
past five years.

RESPONSE: Defendants object to this Request because it seeks documents that are
not relevant to Couvillion’s claims or defenses, and because the request is not
proportional to the needs of the case. Defendants further object to this Request
because it is overly broad and unduly burdensome, and because it is not reasonably
calculated to lead to the discovery of admissible evidence. Defendants are willing to
meet and confer about this Request.

REQUEST FOR PRODUCTION NO. 13:

A copy of any and all corporate records or ledgers evidencing the identity and address
of each person or entity that has or had an ownership interest in Torrent during the
past five years.

RESPONSE: Defendants object to this Request because it seeks documents that are
not relevant to Couvillion’s claims or defenses, and because the request is not
proportional to the needs of the case. Defendants further object to this Request
because it is overly broad and unduly burdensome, and because it is not reasonably
calculated to lead to the discovery of admissible evidence. Defendants are willing to
meet and confer about this Request.

REQUEST FOR PRODUCTION NO. 14:

Copies of the federal tax return, and any state tax returns, for White Marlin,
including all schedules and attachments, for the past five years.



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RESPONSE: Defendants object to this Request because it seeks documents that are
not relevant to Couvillion’s claims or defenses, and because the request is not
proportional to the needs of the case. Defendants further object to this Request
because it is overly broad and unduly burdensome, and because it is not reasonably
calculated to lead to the discovery of admissible evidence. Defendants are willing to
meet and confer about this Request.

REQUEST FOR PRODUCTION NO. 15:

Copies of the federal tax return, and any state tax returns, for Agua, including all
schedules and attachments, for the past five years.

RESPONSE: Defendants object to this Request because it seeks documents that are
not relevant to Couvillion’s claims or defenses, and because the request is not
proportional to the needs of the case. Defendants further object to this Request
because it is overly broad and unduly burdensome, and because it is not reasonably
calculated to lead to the discovery of admissible evidence. Defendants are willing to
meet and confer about this Request.

REQUEST FOR PRODUCTION NO. 16:

Copies of the federal tax return, and any state tax returns, for Talco, including all
schedules and attachments, for the past five years.

RESPONSE: Defendants object to this Request because it seeks documents that are
not relevant to Couvillion’s claims or defenses, and because the request is not
proportional to the needs of the case. Defendants further object to this Request
because it is overly broad and unduly burdensome, and because it is not reasonably
calculated to lead to the discovery of admissible evidence. Defendants are willing to
meet and confer about this Request.

REQUEST FOR PRODUCTION NO. 17:

Copies of the federal tax return, and any state tax returns, for Torrent, including all
schedules and attachments, for the past five years.

RESPONSE: Defendants object to this Request because it seeks documents that are
not relevant to Couvillion’s claims or defenses, and because the request is not
proportional to the needs of the case. Defendants further object to this Request
because it is overly broad and unduly burdensome, and because it is not reasonably
calculated to lead to the discovery of admissible evidence. Defendants are willing to
meet and confer about this Request.




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REQUEST FOR PRODUCTION NO. 18:

All payroll records for each and every person employed by White Marlin during the
past five years.

RESPONSE: Defendants object to this Request because it seeks documents that are
not relevant to Couvillion’s claims or defenses, and because the request is not
proportional to the needs of the case. Defendants further object to this Request
because it is overly broad and unduly burdensome, and because it is not reasonably
calculated to lead to the discovery of admissible evidence. Defendants are willing to
meet and confer about this Request.

REQUEST FOR PRODUCTION NO. 19:

All payroll records for each and every person employed by Agua during the past five
years.

RESPONSE: Defendants object to this Request because it seeks documents that are
not relevant to Couvillion’s claims or defenses, and because the request is not
proportional to the needs of the case. Defendants further object to this Request
because it is overly broad and unduly burdensome, and because it is not reasonably
calculated to lead to the discovery of admissible evidence. Defendants are willing to
meet and confer about this Request.

REQUEST FOR PRODUCTION NO. 20:

All payroll records for each and every person employed by Talco during the past five
years.

RESPONSE: Defendants object to this Request because it seeks documents that are
not relevant to Couvillion’s claims or defenses, and because the request is not
proportional to the needs of the case. Defendants further object to this Request
because it is overly broad and unduly burdensome, and because it is not reasonably
calculated to lead to the discovery of admissible evidence. Defendants are willing to
meet and confer about this Request.

REQUEST FOR PRODUCTION NO. 21:

All payroll records for each and every person employed by Torrent during the past
five years.

RESPONSE: Defendants object to this Request because it seeks documents that are
not relevant to Couvillion’s claims or defenses, and because the request is not
proportional to the needs of the case. Defendants further object to this Request



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because it is overly broad and unduly burdensome, and because it is not reasonably
calculated to lead to the discovery of admissible evidence. Defendants are willing to
meet and confer about this Request.

REQUEST FOR PRODUCTION NO. 22:

Any job description or document(s) evidencing the responsibilities and duties of any
person employed by White Marlin during the past five years.

RESPONSE: Defendants object to this Request because it seeks documents that are
not relevant to Couvillion’s claims or defenses, and because the request is not
proportional to the needs of the case. Defendants further object to this Request
because it is overly broad and unduly burdensome, and because it is not reasonably
calculated to lead to the discovery of admissible evidence. Defendants are willing to
meet and confer about this Request.


REQUEST FOR PRODUCTION NO. 23:

Any job description or document evidencing the responsibilities and duties of any
person employed by Agua during the past five years.

RESPONSE: Defendants object to this Request because it seeks documents that are
not relevant to Couvillion’s claims or defenses, and because the request is not
proportional to the needs of the case. Defendants further object to this Request
because it is overly broad and unduly burdensome, and because it is not reasonably
calculated to lead to the discovery of admissible evidence. Defendants are willing to
meet and confer about this Request.

REQUEST FOR PRODUCTION NO. 24:

Any job description or document evidencing the responsibilities and duties of any
person employed by Talco during the past five years.

RESPONSE: Defendants object to this Request because it seeks documents that are
not relevant to Couvillion’s claims or defenses, and because the request is not
proportional to the needs of the case. Defendants further object to this Request
because it is overly broad and unduly burdensome, and because it is not reasonably
calculated to lead to the discovery of admissible evidence. Defendants are willing to
meet and confer about this Request.




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REQUEST FOR PRODUCTION NO. 25:

Any job description or document evidencing the responsibilities and duties of any
person employed by Torrent during the past five years.

RESPONSE: Defendants object to this Request because it seeks documents that are
not relevant to Couvillion’s claims or defenses, and because the request is not
proportional to the needs of the case. Defendants further object to this Request
because it is overly broad and unduly burdensome, and because it is not reasonably
calculated to lead to the discovery of admissible evidence. Defendants are willing to
meet and confer about this Request.

REQUEST FOR PRODUCTION NO. 26:

Any and all contracts, agreements, promissory notes, applications, loan documents,
proposals, or bid documents which were executed by Richard Watson on behalf of
Agua or Torrent during the past five years.

RESPONSE: Defendants object to this Request because it seeks documents that are
not relevant to Couvillion’s claims or defenses, and because the request is not
proportional to the needs of the case. Defendants further object to this Request
because it is overly broad and unduly burdensome, and because it is not reasonably
calculated to lead to the discovery of admissible evidence. Defendants are willing to
meet and confer about this Request.

REQUEST FOR PRODUCTION NO. 27:

Copies of all documents evidencing loans provided by White Marlin to Agua, Talco,
Torrent, and/or Nigel Solida during the past five years.

RESPONSE: Defendants object to this Request because it seeks documents that are
not relevant to Couvillion’s claims or defenses, and because the request is not
proportional to the needs of the case. Defendants further object to this Request
because it is overly broad and unduly burdensome, and because it is not reasonably
calculated to lead to the discovery of admissible evidence. Defendants are willing to
meet and confer about this Request.

REQUEST FOR PRODUCTION NO. 28:

Copies of all documents evidencing loans from Agua, Talco, Torrent, and/or Nigel
Solida to White Marlin during the past five years.

RESPONSE: Defendants object to this Request because it seeks documents that are
not relevant to Couvillion’s claims or defenses, and because the request is not



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proportional to the needs of the case. Defendants further object to this Request
because it is overly broad and unduly burdensome, and because it is not reasonably
calculated to lead to the discovery of admissible evidence. Defendants are willing to
meet and confer about this Request.

REQUEST FOR PRODUCTION NO. 29:

All documents evidencing or describing any security or other collateral provided by
Agua, Talco, or Torrent for White Marlin’s benefit to secure any loan issued to White
Marlin during the past five years.

RESPONSE: Defendants object to this Request because it seeks documents that are
not relevant to Couvillion’s claims or defenses, and because the request is not
proportional to the needs of the case. Defendants further object to this Request
because it is overly broad and unduly burdensome, and because it is not reasonably
calculated to lead to the discovery of admissible evidence. Defendants are willing to
meet and confer about this Request.

REQUEST FOR PRODUCTION NO. 30:

Copies of any agreements, contracts, leases, or acts of sale concerning property which
White Marlin, Agua, Talco, or Torrent have utilized as office space during the past
five years.

RESPONSE: Defendants object to this Request because it is overly broad and unduly
burdensome, and because it fails to identify the documents it seeks with reasonable
particularity. Defendants also object to this Request insofar as it seeks the production
of privileged information.

Defendants will perform a reasonable search for and produce documents identified as
responsive to this Request.

REQUEST FOR PRODUCTION NO. 31:

Copies of any agreements, contracts, or written instruments (including any
amendments) executed between White Marlin and Agua, Talco, or Torrent which
pertain, refer, or relate to the work performed by Couvillion as referenced in the
Complaint and/or relate to the 12” A11 pipeline located in the Corpus Christi Ship
Channel.

RESPONSE: Defendants object to this Request because it is overly broad and unduly
burdensome, and because it fails to identify the documents it seeks with reasonable
particularity. Defendants also object to this Request insofar as it seeks the production
of privileged information.



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Defendants will perform a reasonable search for and produce documents identified as
responsive to this Request.

REQUEST FOR PRODUCTION NO. 32:
Copies of any agreements, contracts, or written instruments (including any
amendments) executed between White Marlin, Agua, Talco, or Torrent and TTL, Inc.
which pertain, refer, or relate to the work performed by Couvillion as referenced in
the Complaint and/or relate to the 12” A11 pipeline located in the Corpus Christi Ship
Channel.

RESPONSE: Defendants object to this Request because it is overly broad and unduly
burdensome, and because it fails to identify the documents it seeks with reasonable
particularity. Defendants also object to this Request insofar as it seeks the production
of privileged information.

Defendants will perform a reasonable search for and produce documents identified as
responsive to this Request.

REQUEST FOR PRODUCTION NO. 33:

Copies of any agreements, contracts, or written instruments (including any
amendments) executed between White Marlin, Agua, Talco, or Torrent and T. Baker
Smith which pertain, refer, or relate to the work performed by Couvillion as
referenced in the Complaint and/or relate to the 12” A11 pipeline located in the
Corpus Christi Ship Channel.

RESPONSE: Defendants will perform a reasonable search for and produce
documents they identify as responsive to this Request.

REQUEST FOR PRODUCTION NO. 34:

Copies of any agreements, contracts, or written instruments (including any
amendments) executed between White Marlin, Agua, Talco, or Torrent and Eagle
Energy Services or Eagle LLC which pertain, refer, or relate to the work performed
by Couvillion as referenced in the Complaint and/or relate to the 12” A11 pipeline
located in the Corpus Christi Ship Channel.

RESPONSE: Defendants will perform a reasonable search for and produce
documents they identify as responsive to this Request.

REQUEST FOR PRODUCTION NO. 35:




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Copies of any agreements, contracts, or written instruments (including any
amendments) executed between White Marlin, Agua, Talco, or Torrent and Axis
Pipeline Construction, LLC or Axis Subsea Construction Group which pertain, refer,
or relate to the work performed by Couvillion as referenced in the Complaint and/or
relate to the 12” A11 pipeline located in the Corpus Christi Ship Channel.

RESPONSE: Defendants will perform a reasonable search for and produce
documents they identify as responsive to this Request.

REQUEST FOR PRODUCTION NO. 36:

Copies of any agreements, contracts, or written instruments (including any
amendments) executed between White Marlin, Agua, Talco, or Torrent and
Southcross Energy LP LLC which pertain, refer, or relate to the work performed by
Couvillion as referenced in the Complaint and/or relate to the 12” A11 pipeline located
in the Corpus Christi Ship Channel.

RESPONSE: Defendants will perform a reasonable search for and produce
documents they identify as responsive to this Request.

REQUEST FOR PRODUCTION NO. 37:

Copies of any agreements, contracts, or written instruments (including any
amendments) executed between White Marlin, Agua, Talco, or Torrent and Encinal
Midstream, LLC which pertain, refer, or relate to the work performed by Couvillion
as referenced in the Complaint and/or relate to the 12” A11 pipeline located in the
Corpus Christi Ship Channel.

RESPONSE: Defendants will perform a reasonable search for and produce
documents they identify as responsive to this Request.

REQUEST FOR PRODUCTION NO. 38:

Copies of any and all documents, communications, emails, text messages, and letters
sent or received by White Marlin, its employee(s), representative(s), and/or
subcontractor(s) which pertain, refer, or relate to the work performed by Couvillion
as referenced in the Complaint and/or relate to the 12” A11 pipeline located in the
Corpus Christi Ship Channel.

RESPONSE: Defendants object to this Request because it is overly broad and unduly
burdensome, and because it fails to identify the documents it seeks with reasonable
particularity. Defendants also object to this Request insofar as it seeks the production
of privileged information.




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Defendants will perform a reasonable search for and produce documents identified as
responsive to this Request.

REQUEST FOR PRODUCTION NO. 39:

Copies of any and all documents, communications, emails, text messages, and letters
sent or received by Agua, its employee(s), its representative(s), and/or its
subcontractor(s) which pertain, refer, or relate to the work performed by Couvillion
as referenced in the Complaint and/or related to the 12” A11 pipeline located in the
Corpus Christi Ship Channel.

RESPONSE: Defendants object to this Request because it is overly broad and unduly
burdensome, and because it fails to identify the documents it seeks with reasonable
particularity. Defendants also object to this Request insofar as it seeks the production
of privileged information.

Defendants will perform a reasonable search for and produce documents identified as
responsive to this Request.

REQUEST FOR PRODUCTION NO. 40:

Copies of any and all documents, communications, emails, text messages, and letters
sent or received by Talco, its employee(s), its representative(s), and/or its
subcontractor(s) which pertain, refer, or relate to the work performed by Couvillion
as referenced in the Complaint and/or related to the 12” A11 pipeline located in the
Corpus Christi Ship Channel.

RESPONSE: Defendants object to this Request because it is overly broad and unduly
burdensome, and because it fails to identify the documents it seeks with reasonable
particularity. Defendants also object to this Request insofar as it seeks the production
of privileged information.

Defendants will perform a reasonable search for and produce documents identified as
responsive to this Request.

REQUEST FOR PRODUCTION NO. 41:

Copies of any and all documents, communications, emails, text messages, and letters
sent or received by Torrent, its employee(s), its representative(s), and/or its
subcontractor(s) which pertain, refer, or relate to the work performed by Couvillion
as referenced in the Complaint and/or related to the 12” A11 pipeline located in the
Corpus Christi Ship Channel.




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RESPONSE: Defendants object to this Request because it is overly broad and unduly
burdensome, and because it fails to identify the documents it seeks with reasonable
particularity. Defendants also object to this Request insofar as it seeks the production
of privileged information.

Defendants will perform a reasonable search for and produce documents identified as
responsive to this Request.

REQUEST FOR PRODUCTION NO. 42:

Any and all letters, correspondence, text messages, e-mails, facsimiles, documents,
memoranda, or reports prepared, authored, or sent by You to any person or entity
which pertain, refer, or relate to Couvillion’s Invoice No.204144 or Invoice No.
204255.

RESPONSE: Defendants will perform a reasonable search for and produce
documents they identify as responsive to this Request.

REQUEST FOR PRODUCTION NO. 43:

Any and all invoices submitted by Couvillion to White Marlin for work performed
pursuant to the Day Rate Proposal (Rec. Doc. 11-1), Master Service Agreement (Rec.
Doc. 11-2), and/or any oral agreement between Couvillion and White Marlin for to
work performed by Couvillion at White Marlin’s request between January 1, 2021
and the present day.

RESPONSE: Defendants will perform a reasonable search for and produce
documents they identify as responsive to this Request.

REQUEST FOR PRODUCTION NO. 44:

Any and all documents which White Marlin alleges support any claim that White
Marlin paid Couvillion for the amount(s) owed under the Day Rate Proposal or
Master Service Agreement.

RESPONSE: Defendants will perform a reasonable search for and produce
documents they identify as responsive to this Request.

REQUEST FOR PRODUCTION NO. 45:

Any and all documents, communications, e-mails, text messages, facsimiles, or
reports allegedly sent to Couvillion by White Marlin, Agua, Talco, and/or Torrent
disputing the amounts invoiced.




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RESPONSE: Defendants will perform a reasonable search for and produce
documents they identify as responsive to this Request.

REQUEST FOR PRODUCTION NO. 46:

Any and all documents, communications, e-mails, text messages, facsimiles, or
reports which support White Marlin’s contention that “White Marlin solicited bids
from eleven contractors” for the removal of the A11 pipeline.

RESPONSE: Defendants will perform a reasonable search for and produce
documents they identify as responsive to this Request.

REQUEST FOR PRODUCTION NO. 47:

Please produce all documents, communications, e-mails, text messages, facsimiles, or
reports which support White Marlin’s contention that “Couvillion egregiously
breached its obligations under both the Day Rate Proposal and the MSA…”

RESPONSE: Defendants will perform a reasonable search for and produce
documents they identify as responsive to this Request.

REQUEST FOR PRODUCTION NO. 48:

Please produce the contract between Aqua and White Marlin referenced in Paragraph
13 of White Marlin’s Counterclaims.

RESPONSE: Defendants will perform a reasonable search for and produce
documents they identify as responsive to this Request.

REQUEST FOR PRODUCTION NO. 49:

Any and all documents, communications, e-mails, text messages, facsimiles, or
reports which support White Marlin’s contention that “the change in conditions was
not the driving force behind Couvillion’s complete failure to satisfy its obligations.”

RESPONSE: Defendants object to this Request because it is overly broad, and
because it fails to identify the documents it seeks with reasonable particularity.

Defendants will perform a reasonable search for and produce documents identified as
responsive to this Request.




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REQUEST FOR PRODUCTION NO. 50:

Any and all documents, communications, e-mails, text messages, facsimiles, or
reports which support White Marlin’s contention that “Couvillion did not timely
perform under the Contracts because of gross incompetence.”

RESPONSE: Defendants object to this Request because it is overly broad, and
because it fails to identify the documents it seeks with reasonable particularity.

Defendants will perform a reasonable search for and produce documents identified as
responsive to this Request.

REQUEST FOR PRODUCTION NO. 51:

Any and all documents, communications, e-mails, text messages, facsimiles, or
reports which support White Marlin’s contention that “Couvillion could not even find
the pipe it was supposed to remove, nor did it furnish the equipment it needed…to
timely perform under the Contract.”

RESPONSE: Defendants object to this Request because it is overly broad, and
because it fails to identify the documents it seeks with reasonable particularity.

Defendants will perform a reasonable search for and produce documents identified as
responsive to this Request.

REQUEST FOR PRODUCTION NO. 52:

Any and all documents, communications, e-mails, text messages, facsimiles, or
reports which support White Marlin’s contention that “Couvillion repeatedly assured
White Marlin that White Marlin would not be charged for overages caused by
Couvillion’s own failures to comply with the Contracts.”

RESPONSE: Defendants object to this Request because it is overly broad, and
because it fails to identify the documents it seeks with reasonable particularity.

Defendants will perform a reasonable search for and produce documents identified as
responsive to this Request.

REQUEST FOR PRODUCTION NO. 53:

Any and all documents, communications, e-mails, text messages, facsimiles, or
reports which support White Marlin’s contention that “[w]hen Couvillion
management learned that its project manager had made these representations to




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White Marlin, however, Couvillion removed him from the job, and replaced him with
a new project manager who reversed course.”

RESPONSE: Defendants object to this Request because it is overly broad, and
because it fails to identify the documents it seeks with reasonable particularity.

Defendants will perform a reasonable search for and produce documents identified as
responsive to this Request.

REQUEST FOR PRODUCTION NO. 54:

Any and all documents, communications, e-mails, text messages, facsimiles, or
reports which support White Marlin’s contention that “White Marlin fired Couvillion
on September 24, 2021.”

RESPONSE: Defendants object to this Request because it is overly broad, and
because it fails to identify the documents it seeks with reasonable particularity.

Defendants will perform a reasonable search for and produce documents identified as
responsive to this Request.

REQUEST FOR PRODUCTION NO. 55:

Any and all documents, communications, e-mails, text messages, facsimiles, or
reports which support White Marlin’s contention that “[a]s a result of Couvillion’s
Breaches of Contract, White Marlin had to retain and pay another company to
complete Couvillion’s scope of work.”

RESPONSE: Defendants object to this Request because it is overly broad, and
because it fails to identify the documents it seeks with reasonable particularity.

Defendants will perform a reasonable search for and produce documents identified as
responsive to this Request.

REQUEST FOR PRODUCTION NO. 56:

Any and all documents, communications, e-mails, text messages, facsimiles, or
reports which support White Marlin’s contention that “the ‘work’ Couvillion
performed in connection with the Contracts…was worth, at most, $341,612.”

RESPONSE: Defendants object to this Request because it is overly broad, and
because it fails to identify the documents it seeks with reasonable particularity.




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Defendants will perform a reasonable search for and produce documents identified as
responsive to this Request.

REQUEST FOR PRODUCTION NO. 57:

Any and all plans, schematics, and surveys, including but not limited to pipeline
clearance surveys, of the A11 pipeline in White Marlin’s possession, or in the
possession of Agua, Talco, or Torrent, between 2019 and the present day.

RESPONSE: Defendants object to this Request because it is overly broad, and
because it fails to identify the documents it seeks with reasonable particularity.

Defendants will perform a reasonable search for and produce documents identified as
responsive to this Request.

REQUEST FOR PRODUCTION NO. 58:

Any and all documents, communications, e-mails, text messages, facsimiles, or
reports which pertain, relate, or mention any surveys, including but not limited to
pipeline clearance surveys, of the A11 pipeline in White Marlin’s possession, or in the
possession of Agua, Talco, or Torrent between 2019 and the present day.

RESPONSE: Defendants object to this Request because it is overly broad, and
because it fails to identify the documents it seeks with reasonable particularity.

Defendants will perform a reasonable search for and produce documents identified as
responsive to this Request.

REQUEST FOR PRODUCTION NO. 59:

Copies of any and all communications, emails, text messages, letters, facsimiles,
reports, or invoices exchanged between White Marlin, Agua, Talco, or Torrent and
the entity or entities which White Marlin alleges it was forced to retain “to complete
Couvillion’s scope of work.” See Paragraph 30 of White Marlin’s Counterclaim.

RESPONSE: Defendants object to this Request because it is overly broad, and
because it fails to identify the documents it seeks with reasonable particularity.

Defendants will perform a reasonable search for and produce documents identified as
responsive to this Request.




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REQUEST FOR PRODUCTION NO. 60:

Any and all non-privileged documents, communications, memorandum, e-mails, text
messages, facsimiles, or reports which pertain, relate, or mention White Marlin’s
decision to “fire[]” Couvillion on September 25, 2021.

RESPONSE: Defendants object to this Request because it is overly broad, and
because it fails to identify the documents it seeks with reasonable particularity.

Defendants will perform a reasonable search for and produce documents identified as
responsive to this Request.

REQUEST FOR PRODUCTION NO. 61:

Any and all documents, communications, memorandum, e-mails, text messages,
facsimiles, or reports in White Marlin’s possession, or the possession of Agua, Talco,
or Torrent, which pertain, relate, or mention delays in the removal of the A11 pipeline
due to COVID 19.

RESPONSE: Defendants object to this Request because it is overly broad, and
because it fails to identify the documents it seeks with reasonable particularity.

Defendants will perform a reasonable search for and produce documents identified as
responsive to this Request.

REQUEST FOR PRODUCTION NO. 62:

Any and all documents, communications, memorandum, e-mails, text messages,
facsimiles, or reports in White Marlin’s possession, or the possession of Agua, Talco,
or Torrent, which pertain, relate, or mention delays in the removal of the A11 pipeline
due to vessel traffic in the Corpus Christi Intercoastal Waterway.

RESPONSE: Defendants object to this Request because it is overly broad, and
because it fails to identify the documents it seeks with reasonable particularity.

Defendants will perform a reasonable search for and produce documents identified as
responsive to this Request.

REQUEST FOR PRODUCTION NO. 63:

Any and all documents, communications, memorandum, e-mails, text messages,
facsimiles, or reports in White Marlin’s possession, or the possession of Agua, Talco,
or Torrent, which pertain, relate, mention, or provide an estimate for the number of
days it would take to remove the A11 pipeline.



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RESPONSE: Defendants object to this Request because it is overly broad, and
because it fails to identify the documents it seeks with reasonable particularity.

Defendants will perform a reasonable search for and produce documents identified as
responsive to this Request.

REQUEST FOR PRODUCTION NO. 64:

Any and all financial documents, including bank statements, in White Marlin’s
possession or the possession of Agua, Talco, or Torrent, related to the purchase and
return of a clamp obtained from PetroQuip for work performed on the A11 pipeline.

RESPONSE: Defendants object to this Request because it is overly broad, and
because it fails to identify the documents it seeks with reasonable particularity.

Defendants will perform a reasonable search for and produce documents identified as
responsive to this Request.

REQUEST FOR PRODUCTION NO. 65:

Any and all documents, communications, memorandum, e-mails, text messages,
facsimiles, or reports in White Marlin’s possession, or the possession of Agua, Talco,
or Torrent, which pertain, relate, mention the return of the clamp obtained from
PetroQuip, and/or the reimbursement of money for the clamp to White Marlin, Agua,
Talco, or Torrent.

RESPONSE: Defendants object to this Request because it is overly broad, and
because it fails to identify the documents it seeks with reasonable particularity.
Defendants further object to this Request insofar as it seeks the production of
privileged information.

Defendants will perform a reasonable search for and produce documents identified as
responsive to this Request.

REQUEST FOR PRODUCTION NO. 66:

Any written or recorded statement(s) in White Marlin’s possession, or the possession
of Agua, Talco, or Torrent, regarding any work performed by Couvillion on the A11
pipeline.

RESPONSE: None.




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                                       Respectfully submitted,

                                       JORDAN, LYNCH & CANCIENNE PLLC

                                      By: /s/ Joseph W. Golinkin II
                                         Michael Cancienne
                                         State Bar No. 24055256
                                         Joseph W. (“Jeb”) Golinkin II
                                         State Bar No. 24087596
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                                         Houston, Texas 77056
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                                         713.955.9644 Facsimile
                                         mcancienne@jlcfirm.com
                                         jgolinkin@jlcfirm.com


                                      ATTORNEYS FOR DEFENDANTS



                          CERTIFICATE OF SERVICE

             I certify that on the 20th day of November, 2023, a true and correct copy
of the above and foregoing has been served upon all counsel of record via electronic
mail.

                                              /s/ Jeb Golinkin
                                              Joseph W. Golinkin II




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                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF TEXAS
                          HOUSTON DIVISION

      COUVILLION GROUP, LLC.,
                        Plaintiff,

         v.
      WHITE MARLIN OPERATING
      COMPANY LLC; AGUA                       Civil Action No. 4:22:cv-00908
      TRANQUILLO MIDSTREAM
      LLC; TALCO PETROLEUM
      LLC; TORRENT OIL, LLC; &
      NIGEL SOLIDA,

                        Defendants.


   DEFENDANTS’ OBJECTIONS AND RESPONSES TO PLAINTIFF
 COUVILLION GROUP, LLC’S SECOND REQUESTS FOR PRODUCTION

TO:    Couvillion Group, LLC, by and through its attorneys of record, Patrick
       McShante, Danica Denny, Kathleen Rice, and Daniel Schwank, 1100 Poydras
       Street, Suite 3700, New Orleans LA 70163.

       Pursuant to the Federal Rules of Civil Procedure, Defendants White Marlin

Operating Company, LLC, Agua Tranquillo Midstream LLC, and Talco Petroleum,

LLC (collectively, “Defendants”) serve these objections and responses to Plaintiff’s

Second Requests for Production.
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                                       Respectfully submitted,

                                       JORDAN, LYNCH & CANCIENNE PLLC

                                       By: /s/ Joseph W. Golinkin II
                                          Michael Cancienne
                                          State Bar No. 24055256
                                          Joseph W. (“Jeb”) Golinkin II
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                                          713.955.4028
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                                          mcancienne@jlcfirm.com
                                          jgolinkin@jlcfirm.com

                                      ATTORNEYS FOR DEFENDANTS


                          CERTIFICATE OF SERVICE

             I certify that on the 22nd day of January, 2024, a true and correct copy
of the above and foregoing has been served upon all counsel of record via electronic
mail.

                                             /s/ Jeb Golinkin
                                             Joseph W. Golinkin II




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                        REQUESTS FOR PRODUCTION

REQUEST FOR PRODUCTION NO. 67:

A copy of White Marlin’s general ledger from the past five years and year to date.

RESPONSE: Defendants object to this Request because it seeks documents that are
not relevant to Couvillion’s claims or defenses, and because the request is not
proportional to the needs of the case. Defendants further object to this Request
because it is overly broad and unduly burdensome, and because it is not reasonably
calculated to lead to the discovery of admissible evidence. Defendants are willing to
meet and confer about this Request.

REQUEST FOR PRODUCTION NO. 68:

A copy of Agua’s general ledger from the past five years and year to date.

RESPONSE: Defendants object to this Request because it seeks documents that are
not relevant to Couvillion’s claims or defenses, and because the request is not
proportional to the needs of the case. Defendants further object to this Request
because it is overly broad and unduly burdensome, and because it is not reasonably
calculated to lead to the discovery of admissible evidence. Defendants are willing to
meet and confer about this Request.

REQUEST FOR PRODUCTION NO. 69:

A copy of Talco’s general ledger from the past five years and year to date.

RESPONSE: Defendants object to this Request because it seeks documents that are
not relevant to Couvillion’s claims or defenses, and because the request is not
proportional to the needs of the case. Defendants further object to this Request
because it is overly broad and unduly burdensome, and because it is not reasonably
calculated to lead to the discovery of admissible evidence. Defendants are willing to
meet and confer about this Request.




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REQUEST FOR PRODUCTION NO. 70:

A copy of Torrent Oil, LLC’s general ledger from the past five years and year to date.

RESPONSE: Defendants object to this Request because it seeks documents that are
not relevant to Couvillion’s claims or defenses, and because the request is not
proportional to the needs of the case. Defendants further object to this Request
because it is overly broad and unduly burdensome, and because it is not reasonably
calculated to lead to the discovery of admissible evidence. Defendants are willing to
meet and confer about this Request.

REQUEST FOR PRODUCTION NO. 71:

A copy of White Marlin’s accounts receivable and accounts payable subsidiary ledgers
from the past five years and year to date.

RESPONSE: Defendants object to this Request because it seeks documents that are
not relevant to Couvillion’s claims or defenses, and because the request is not
proportional to the needs of the case. Defendants further object to this Request
because it is overly broad and unduly burdensome, and because it is not reasonably
calculated to lead to the discovery of admissible evidence. Defendants are willing to
meet and confer about this Request.

REQUEST FOR PRODUCTION NO. 72:

A copy of Agua’s accounts receivable and accounts payable subsidiary ledgers from
the past five years and year to date.

RESPONSE: Defendants object to this Request because it seeks documents that are
not relevant to Couvillion’s claims or defenses, and because the request is not
proportional to the needs of the case. Defendants further object to this Request
because it is overly broad and unduly burdensome, and because it is not reasonably
calculated to lead to the discovery of admissible evidence. Defendants are willing to
meet and confer about this Request.

REQUEST FOR PRODUCTION NO. 73:

A copy of Talco’s accounts receivable and accounts payable subsidiary ledgers from
the past five years and year to date.

RESPONSE: Defendants object to this Request because it seeks documents that are
not relevant to Couvillion’s claims or defenses, and because the request is not
proportional to the needs of the case. Defendants further object to this Request
because it is overly broad and unduly burdensome, and because it is not reasonably



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calculated to lead to the discovery of admissible evidence. Defendants are willing to
meet and confer about this Request.

REQUEST FOR PRODUCTION NO. 74:

A copy of Torrent Oil, LLC’s accounts receivable and accounts payable subsidiary
ledgers from the past five years and year to date.

RESPONSE: Defendants object to this Request because it seeks documents that are
not relevant to Couvillion’s claims or defenses, and because the request is not
proportional to the needs of the case. Defendants further object to this Request
because it is overly broad and unduly burdensome, and because it is not reasonably
calculated to lead to the discovery of admissible evidence. Defendants are willing to
meet and confer about this Request.

REQUEST FOR PRODUCTION NO. 75:

A copy of White Marlin’s payroll journal/ledger from the past five years.

RESPONSE: Defendants object to this Request because it seeks documents that are
not relevant to Couvillion’s claims or defenses, and because the request is not
proportional to the needs of the case. Defendants further object to this Request
because it is overly broad and unduly burdensome, and because it is not reasonably
calculated to lead to the discovery of admissible evidence. Defendants are willing to
meet and confer about this Request.

REQUEST FOR PRODUCTION NO. 76:

A copy of Agua’s payroll journal/ledger from the past five years.

RESPONSE: Defendants object to this Request because it seeks documents that are
not relevant to Couvillion’s claims or defenses, and because the request is not
proportional to the needs of the case. Defendants further object to this Request
because it is overly broad and unduly burdensome, and because it is not reasonably
calculated to lead to the discovery of admissible evidence. Defendants are willing to
meet and confer about this Request.

REQUEST FOR PRODUCTION NO. 77:

A copy of Talco’s payroll journal/ledger from the past five years.

RESPONSE: Defendants object to this Request because it seeks documents that are
not relevant to Couvillion’s claims or defenses, and because the request is not
proportional to the needs of the case. Defendants further object to this Request



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because it is overly broad and unduly burdensome, and because it is not reasonably
calculated to lead to the discovery of admissible evidence. Defendants are willing to
meet and confer about this Request.

REQUEST FOR PRODUCTION NO. 78:

A copy of Torrent Oil, LLC’s payroll journal/ledger from the past five years.

RESPONSE: Defendants object to this Request because it seeks documents that are
not relevant to Couvillion’s claims or defenses, and because the request is not
proportional to the needs of the case. Defendants further object to this Request
because it is overly broad and unduly burdensome, and because it is not reasonably
calculated to lead to the discovery of admissible evidence. Defendants are willing to
meet and confer about this Request.

REQUEST FOR PRODUCTION NO. 79:

A copy of any Internal Revenue Service notices received by White Marlin for the past
five years.

RESPONSE: Defendants object to this Request because it seeks documents that are
not relevant to Couvillion’s claims or defenses, and because the request is not
proportional to the needs of the case. Defendants further object to this request
because it fails to identify the documents it seeks with reasonable particularity.
Subject to the foregoing, Defendants will perform a reasonable search for and produce
documents identified as responsive to this Request.

REQUEST FOR PRODUCTION NO. 80:

A copy of any Internal Revenue Service notices received by Agua for the past five
years.

RESPONSE: Defendants object to this Request because it seeks documents that are
not relevant to Couvillion’s claims or defenses, and because the request is not
proportional to the needs of the case. Defendants further object to this request
because it fails to identify the documents it seeks with reasonable particularity.
Subject to the foregoing, Defendants will perform a reasonable search for and produce
documents identified as responsive to this Request.

REQUEST FOR PRODUCTION NO. 81:

A copy of any Internal Revenue Service notices received by Talco for the past five
years.




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RESPONSE: Defendants object to this Request because it seeks documents that are
not relevant to Couvillion’s claims or defenses, and because the request is not
proportional to the needs of the case. Defendants further object to this request
because it fails to identify the documents it seeks with reasonable particularity.
Subject to the foregoing, Defendants will perform a reasonable search for and produce
documents identified as responsive to this Request.

REQUEST FOR PRODUCTION NO. 82:

A copy of any Internal Revenue Service notices received by Torrent Oil, LLC for the
past five years.

RESPONSE: Defendants object to this Request because it seeks documents that are
not relevant to Couvillion’s claims or defenses, and because the request is not
proportional to the needs of the case. Defendants further object to this request
because it fails to identify the documents it seeks with reasonable particularity.
Subject to the foregoing, Defendants will perform a reasonable search for and produce
documents identified as responsive to this Request.

REQUEST FOR PRODUCTION NO. 83:

A copy of any notes payable and notes receivable executed by White Marlin for the
past five years..

RESPONSE: Defendants object to this Request because it seeks documents that are
not relevant to Couvillion’s claims or defenses, and because the request is not
proportional to the needs of the case. Defendants further object to this request
because it fails to identify the documents it seeks with reasonable particularity.
Subject to the foregoing, Defendants will perform a reasonable search for and will
produce notes payable and receivable executed by White Marlin related to work
performed on the Corpus Christi Bay pipeline project.

REQUEST FOR PRODUCTION NO. 84:

A copy of any notes payable and notes receivable executed by Agua for the past five
years.

RESPONSE: Defendants object to this Request because it seeks documents that are
not relevant to Couvillion’s claims or defenses, and because the request is not
proportional to the needs of the case. Defendants further object to this request
because it fails to identify the documents it seeks with reasonable particularity.
Subject to the foregoing, Defendants will perform a reasonable search for and will
produce notes payable and receivable executed by Agua related to work performed on
the Corpus Christi Bay pipeline project.



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REQUEST FOR PRODUCTION NO. 85:

A copy of any notes payable and notes receivable executed by Talco for the past five
years.

RESPONSE: Defendants object to this Request because it seeks documents that are
not relevant to Couvillion’s claims or defenses, and because the request is not
proportional to the needs of the case. Defendants further object to this request
because it fails to identify the documents it seeks with reasonable particularity.
Subject to the foregoing, Defendants will perform a reasonable search for and will
produce notes payable and receivable executed by White Talco related to work
performed on the Corpus Christi Bay pipeline project.

REQUEST FOR PRODUCTION NO. 86:

A copy of any notes payable and notes receivable executed by Torrent Oil, LLC for
the past five years.

RESPONSE: Defendants object to this Request because it seeks documents that are
not relevant to Couvillion’s claims or defenses, and because the request is not
proportional to the needs of the case. Defendants further object to this request
because it fails to identify the documents it seeks with reasonable particularity.
Subject to the foregoing, Defendants will perform a reasonable search for and will
produce notes payable and receivable executed by Torrent related to work performed
on the Corpus Christi Bay pipeline project.

REQUEST FOR PRODUCTION NO. 87:

A copy of the schedule of intercompany transfers of funds for the past five years.

RESPONSE: Defendants object to this Request because it fails to identify the
documents it seeks with reasonable particularity. No document called a “schedule of
intercompany transfer of funds” exists.

REQUEST FOR PRODUCTION NO. 88:

Any job description or document(s) evidencing the responsibilities and duties of any
person employed by White Marlin during the past five years.

RESPONSE: Defendants will perform a reasonable search for and produce
documents responsive to this Request, if any.




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REQUEST FOR PRODUCTION NO. 89:

Any job description or document evidencing the responsibilities and duties of any
person employed by Agua during the past five years.

RESPONSE: Defendants will perform a reasonable search for and produce
documents responsive to this Request, if any.

REQUEST FOR PRODUCTION NO. 90:

Any job description or document evidencing the responsibilities and duties of any
person employed by Talco during the past five years.

RESPONSE: Defendants will perform a reasonable search for and produce
documents responsive to this Request, if any.


                                     Respectfully submitted,

                                     JORDAN, LYNCH & CANCIENNE PLLC

                                    By: /s/ Joseph W. Golinkin II
                                       Michael Cancienne
                                       State Bar No. 24055256
                                       Joseph W. (“Jeb”) Golinkin II
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                                    ATTORNEYS FOR DEFENDANTS




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